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EXHIBIT 4
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August 12, 2014

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In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master Case No.

3:07-cv-05944-SC

Dear Judge Walker:

Plaintiffs’ submit this reply in further support of their motion to compel
production of certain responsive documents from Thomson SA that are located in France
and for Thomson SA to produce a competent 30(b)(6) deposition witness educated on the

basis of information residing in France.

As in our opening papers,

“plaintiffs” refers to all Direct Action Plaintiffs (except the

Dell and CompuCom plaintiffs, which have not named Thomson SA as a defendant).
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Thomson’s opposition is particularly noteworthy for what it does not say.
Specifically, Thomson SA nowhere denies that:

e Jt has been found by the European antitrust regulator to be a
participant in a worldwide conspiracy to fix the prices of CRTs;

e This Court has already found that it has personal jurisdiction over
Thomson SA because Thomson SA did not and could not
controvert Sharp’s allegations and showings that Thomson SA
purposefully directed CRT conspiratorial activity at the United
States CRT marketplace;

e When it was seeking to be placed on the current trial schedule,
counsel for Thomson SA stipulated in April of 2014 that it would
make its best efforts to make documents and witnesses available to
defendants without resort to Hague Convention procedures if
legally possible;

e Only after it had been placed on the current trial schedule did
Thomson SA inform plaintiffs that it would withhold documents
and testimony on the basis of the French Blocking Statute — citing
(on June 3, 2014) as its authority a letter it had received years
before and certainly before it represented to plaintiffs it would
make its best efforts to produce documents without resort to the
Hague; and

e Counsel for Thomson SA has not even familiarized itself with the
Thomson SA materials that are located in France, to determine
their volume or the extent to which they are duplicative of
materials in the United States.

Instead of addressing these points, Thomson’s opposition primarily
explains the language of the rarely enforced French Blocking Statute and characterizes its
minimal document production to this point. Nothing Thomson says in its opposition
distinguishes this case from the numerous others that plaintiffs cited where courts have
rejected a defendant’s efforts to hide behind the intentionally obstructive French
Blocking Statute. Plaintiffs file this limited reply merely, therefore, to correct several
factual misstatements contained in Thomson’s submission:

1. Thomson has not produced “significant” documents from
France or otherwise. Thomson states that the 26,000 pages its U.S. subsidiary has
produced represent a “significant” volume of documents. (Opp. at 2.) To be clear, a
production of 26,000 pages (not documents) is paltry compared to the productions of
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every other defendant in the case — including defendants that, like Thomson, purport to
have ceased their CRT manufacturing operations prior to the end of the relevant period.”

Thomson also states that the “DAPs have failed to establish that they do
not already have” the documents that are located in France (Opp. at 5), that the
information the DAPs seek is “cumulative” of documents already produced (id. at 6), and
that certain categories of documents — like those relating to jurisdiction over Thomson
SA — are “likely to already be present in the United States” (id). There is no basis for
any of these assertions. By its own admission, Thomson’s counsel has not familiarized
itself with either the volume or the content of the documents that are located in France.*
There is thus no way for plaintiffs to know whether they are cumulative or duplicative,
since even Thomson cannot even say with any confidence how many and what sort of
documents exist in France.

2. Thomson pulled an “about-face.” The record speaks for itself
about how Thomson’s position shifted on its willingness and ability to produce
documents from France without forcing plaintiffs to resort to Hague procedures. Counsel
for Thomson now says that, because of a letter Thomson SA received in 2008 from the
Ministry of Foreign Affairs, “since 2008, Thomson SA has understood that, as a French
company subject to French law, it cannot produce documents, nor have witnesses testify
regarding information located in France, if doing so would violate French law.” (Opp. at
3-4.) In April 2014, however, counsel for Thomson SA said something very different. It
represented first orally on a meet-and-confer with multiple lawyers, and then confirmed
in a writing filed with the Court, that it would make its best efforts to produce documents
and witnesses from France without Hague intervention. It made no mention whatsoever
of any 2008 letter or contrary understanding. Had Thomson SA represented, back in
April, that the plaintiffs would need to resort to Hague procedures in order to procure
documents and witnesses, this issue could have been addressed months ago.

More generally, if Thomson intended to make the parties go through the
Hague, then the schedule made no sense from the outset. Thomson owed the Court a
duty of candor. A party cannot agree to get all discovery done in a matter of months
knowing that plaintiffs want documents and depositions, knowing that it intends to
invoke the Hague procedures.

* Hitachi defendants, for example, have produced over 460,000 pages of documents.

> Similarly misleading is Thomson’s representation that Technologies Displays

Americas, a successor to Thomson’s domestic CRT business, “produced numerous
documents in this litigation” regarding its purchase of Thomson’s assets. (Opp. at 6.)
Technologies Displays Americas’ complete production comprised only 56 documents.
PAUL,

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3. Thomson’s complaints about time are disingenuous. In any
event, contrary to its suggestions, Thomson has long been on notice of its need to
preserve and collect documents relating to the claims at issue in these litigations.
Therefore, to the extent it professes to have been put to a Hobson’s Choice, or to be
behind in its preparation or investigation, it has primarily itself to blame. Thomson was
investigated by both U.S. and foreign authorities as far back as 2008. As it acknowledges
in its opposition, it also received a request for documents in connection with these very
claims filed against it in January 2008. (Opp. at 3.) Thereafter, when the DPPs filed
their consolidated complaint and omitted Thomson SA as a named defendant, they did so
pursuant to a tolling agreement, which put Thomson SA on notice of the need to preserve
all such documents.’ Nor was Sharp’s 2013 complaint against Thomson at all untimely.
Sharp filed suit against all defendants — including Thomson SA and Thomson Consumer
— well over a year ago, and before the Court made any ruling on class certification for the
direct or indirect purchaser classes. Moreover, Sharp immediately sought to initiate
discovery against the Thomson defendants to avoid any prejudice. Thomson, however,
unilaterally refused to respond to discovery requests, or to coordinate with other
defendants to familiarize itself with the discovery that had already been conducted.” (By
contrast, other defendants that were new to the case agreed to participate in discovery,
even while their motions to dismiss pended.)

Thomson here seeks to use its decision not to participate in discovery as
both a sword and a shield. It cannot.

Conclusion. As demonstrated in our opening papers, plaintiffs’ document
requests focus only on the narrow categories of specific information most critical to their
prosecution of their claims. The lengthy and cumbersome Hague procedures are
impractical in light of the approaching discovery deadline (to which Thomson
committed), and, in any event, it would be unjust to force plaintiffs to comply with it in
light of Thomson’s shifting position regarding its application. Finally, enforcing U.S.
antitrust laws against a known conspirator outweighs any possible legitimate purpose for
the French Blocking Statute. Accordingly, plaintiffs respectfully request that the Court
order Thomson SA to produce a competent 30(b)(6) witness that will testify as to topics
1, 2, 4, 5, 6, 9, 13, 14, 20, 21, 24, 25, 31, 34, and 35; and also produce all documents in
France located based on reasonable search, responsive to requests 3-5, 33, 35-37, 42, and
46-60.

* See Pls.’ Opp’n to Thomson S.A.’s Mot. to Dismiss Sharp’s First Am. Compl.

23 n.23, Dkt. No. 2288; Pls’ Opp’n to Thomson Consumer’s Mot. to Dismiss Sharp’s
First Am. Compl. 19-21, Dkt. No. 2286.

Special Master Legge later denied a motion by Sharp to compel the Thomson
defendants to participate in discovery.
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Very truly yours,

/s/ Craig A. Benson

Craig A. Benson

Counsel for Sharp Electronics Corporation
and Sharp Electronics Manufacturing
Company of America, Inc., on behalf of Direct
Action Plaintiffs
